           Case 2:14-cr-00220-KJM Document 380 Filed 12/20/16 Page 1 of 3




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Attorneys for Defendant
WEI HU

                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA                      ) No. 14-CR-00220-7
                                              )
               Plaintiff,                     ) STIPULATION AND ORDER EXTENDING
                                              ) SURRENDER DATE
 v.                                           )
                                              )
                                              )
WEI HU,                                       )
                                              )
               Defendants.                    )
                                              )
                                              )

       The defendant, by and through his counsel, Stuart Hanlon, and the United States, by and

through its counsel, Assistant U.S. Attorney Ross Naughton, hereby stipulate to the extension of

defendant Wei Hu’s surrender date from January 30, 2017 to February 13, 2017 for the following

reasons:

       1. Mr. Hu requests an extension of his surrender date so that he may be able to spend the

Chinese New Year holiday with his family before he is incarcerated. This is a very important

holiday in the Chinese culture and the requested extension is brief - two weeks. The

Government does not oppose this request for an extension.




WEI HU: Stip and Order Extending Surrender Date
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        Case 2:14-cr-00220-KJM Document 380 Filed 12/20/16 Page 2 of 3




                                                  /s/ Stuart Hanlon

Dated: December 15, 2016                          ___________________________
                                                  STUART HANLON
                                                  Counsel for Defendant Wei Hu


                                                  /s/ Ross Naughton
Dated: December 15, 2016                          _______________________
                                                  ROSS NAUGHTON
                                                  Assistant United States Attorney




WEI HU: Stip and Order Extending Surrender Date
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        Case 2:14-cr-00220-KJM Document 380 Filed 12/20/16 Page 3 of 3




                                          ORDER



       Good cause having been shown, IT IS HEREBY ORDERED that Wei Hu’s surrender

date be extended from January 30, 2017 to February 13, 2017.

       IT IS SO ORDERED.


Dated: December 20, 2016




                                                       UNITED STATES DISTRICT JUDGE




WEI HU: Stip and Order Extending Surrender Date
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